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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     FLETCHLINE, INC. and
     FLETCHLINE ELECTRICAL
     SERVICES, LLC,

                                Plaintiffs,

                           v.                                      Case 2:23-cv-03295-MAK

     INVATA, LLC d/b/a INVATA
     INTRALOGISTICS and JOHN DOES 1-5,

                                Defendant.


                 DEFENDANT’S RULE 7.1(a)(2) DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1(a)(2), Defendant, Invata, LLC d/b/a Invata

Intralogistics (“Invata” or “Defendant”), a Pennsylvania limited liability company, names and

identifies the citizenship of every individual or entity whose citizenship is attributable to Invata as

follows:

        1.          Invata, LLC d/b/a Invata Intralogistics, is a Pennsylvania limited liability company

that has a single member, Invata Intermediate, LLC.

        2.          Invata Intermediate, LLC is a Pennsylvania limited liability company that has four

(4) members:

                    a. Invata Holdings, Inc., a Pennsylvania corporation;

                    b. Ayman Labib, a citizen of the Commonwealth of Massachusetts;

                    c. Greg Taylor, a citizen of the Commonwealth of Massachusetts; and

                    d.   Ron Adams, a citizen of the Commonwealth of Massachusetts.




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Dated: September 1, 2023             By:   /s/Edmond M. George _______
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                                       Certificate of Service

        I hereby certify that on this 1st day of September, 2023, a copy of the foregoing

Defendants’ Rule 7.1(a)(2) Disclosure Statement was filed electronically. Notice of this filing will

be sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. All other parties will be served by regular U.S. Mail. Parties may access this filing

through the Court’s electronic filing system.



Dated: September 1, 2023                        By:    /s/Edmond M. George _______
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